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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                      :
  JOHN J. D’ANGELO,                                   :
                                                      :
                    Plaintiff,                        :   CIVIL ACTION NO. 21-4813
                                                      :
            v.                                        :
                                                      :
  VANGUARD GROUP, INC. (individually)                 :   PLAINTIFF REQUESTS
  and D/B/A VANGUARD,                                 :   TRIAL BY JURY
                                                      :
                    Defendant.                        :
                                                      :
                                                      :
                                                      :
                                                      :
                                                      :

       PLAINTIFF, JOHN J. D’ANGELO, by and through undersigned counsel hereby files this

Civil Action Complaint against Defendants VANGUARD GROUP, INC. (individually) and

D/B/A VANGUARD (“Defendant” or “Vanguard”) and avers the following:

                                              PARTIES

       1.         Plaintiff, John D’Angelo (“Plaintiff” or “Mr. D’Angelo”) resides in the

Commonwealth of Pennsylvania with an address for purposes of service at 475 Shelmire Road,

Downingtown, PA 19335.

       2.         Plaintiff, Mr. D’Angelo is a fifty (50) year-old male who is was employed by

Defendants from sometime around September 11, 1995, until March 23, 2021.

       3.         Plaintiff alleges that he was terminated by Defendants due to his age.

       4.         At the time of the alleged unlawful termination due to age, Mr. D’Angelo was fifty

(50) years old.




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       5.      Defendant, Vanguard Group, Inc. (“Vanguard” or “Defendants”) individually and

d/b/a Vanguard is a business organization which is licensed to and regularly transacts business in

the Commonwealth of Pennsylvania with offices for the purposes of service at 100 Vanguard Blvd,

Malvern, Pennsylvania 19355, which is in Chester County.

       6.      Robert Whitesel is an adult individual who resides in the Commonwealth of

Pennsylvania with a business address for the purposes of correspondence at 100 Vanguard Blvd,

Malvern, Pennsylvania 19355, which is in Chester County.

       7.      At all times material to this civil action Robert Whitesel held supervisory authority

over Plaintiff. Robert Whitesel was employed by Defendants as the Senior Manager and had the

authority to take a tangible employment action against Plaintiff during Plaintiff’s employment for

Defendants.

       8.      Jennie Boschi is an adult individual who resides in the Commonwealth of

Pennsylvania with a business address for the purposes of correspondence at 100 Vanguard Blvd,

Malvern, Pennsylvania 19355, which is in Chester County.

       9.      At all times material to this civil action Jennie Boschi (individually) held

supervisory authority over Plaintiff. Jennie Boschi (individually) was employed by Defendants as

a Human Resources Specialist and had the authority to take a tangible employment action against

Plaintiff during Plaintiff’s employment for Defendants.

       10.     At all times material to this Charge, Plaintiff, John D’Angelo was qualified for the

position of Team Lead and held a Leadership Position as an M1, which is a management level

position within Defendants organization.

       11.     At all times relevant to this civil action Defendants were Plaintiff’s joint and sole

employers.



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                                     NATURE OF THE CASE

       12.     PLAINTIFF, John D’Angelo complains pursuant to the Age Discrimination in

Employment Act of 1967, 29 U.S.C. § 621, et seq. (“ADEA”); and seeks damages to redress

injuries Plaintiff suffered as a result of Defendants’ discrimination and harassment, which

ultimately led to a tangible employment action including Plaintiff’s unlawful termination from his

employment for Defendants.


                                 JURISDICTION AND VENUE

       13.     This action involves a Question of Federal Law under the Age Discrimination in

Employment Act of 1967.

       14.     Plaintiff intends to amend his complaint to include allegations under the Pennsylvania

Human Relations Act (“PHRA”) and the Philadelphia Fair Practices Ordinance (“PFPO”), when Plaintiff

Commonwealth and City claims become ripe for filing a lawsuit. At that time, the Court will maintain

supplemental jurisdiction over Plaintiff’s claims under the PHRA and the PFPO.

       15.     Venue is proper in the Eastern District of Pennsylvania as PLAINTIFF was

employed by Defendants and worked in the City of Philadelphia, in the Commonwealth of

Pennsylvania where the discrimination complained of occurred.

       16.     On or around June 29, 2021, PLAINTIFF filed a Charge of Discrimination with the

Equal Employment Opportunity Commission (“EEOC”) against Defendants as set forth herein.

       17.     PLAINTIFF’S Charge of Discrimination was dual filed with the Pennsylvania

Human Relations Commission (“PHRC”), and the Philadelphia Commission on Human Relations

(“PCHR”).

       18.     On or about August 3, 2021, the EEOC issued a Dismissal and Notice of Rights to

PLAINTIFF.


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       19.     This action is hereby commenced within ninety (90) days of receipt of the Dismissal

and Notice of Rights issued by the Equal Employment Opportunity Commission.

       20.     After the one year waiting period has elapsed on PLAINTIFF’S claims under the

PHRA and the PFPO, PLAINTIFF will amend his complaint to assert causes of action under the

PHRA and the PFPO against the parties referenced above. See Fed. R. Civ. P. 15(a) (Courts “freely

give leave to amend when justice so requires”), 15(c) (Amendments “relate back” to the date of

the original pleading), and 15(d) (Plaintiffs may “serve a supplemental pleading setting out any

transaction, occurrence, or event that happened after the date of the pleading to be supplemented”).

       21.     When Plaintiff’s claims under the PHRA and the PFPO are ripe for suit, Plaintiff

will also add two parties to this case: Robert Whitesel and Jennie Boschi, who both engaged in

unlawful conduct to support claims under the Commonwealth and City Aiding and Abetting laws.

                                      MATERIAL FACTS

       22.     Plaintiff, John D’Angelo was employed by Defendant, Vanguard Group, Inc., from

sometime around September 11, 1995, until March 23, 2021.

       23.     Plaintiff, John D’Angelo began his employment for Defendants approximately

twenty-six (26) years ago as a Client Relationship Administrator.

       24.     Over the course of Plaintiff’s employment, Plaintiff worked in various leadership

roles and in different departments for the company. Some of the roles Plaintiff fulfilled included

Project Leader, People Leadership, and Client Relationships.

       25.     Plaintiff excelled in his employment for Defendants and was assigned added

Leadership responsibilities over the course of Plaintiff’s employment.




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        26.     The record of Plaintiff’s employment for Defendants, included performance

evaluations. These evaluations documented Plaintiff’s excellent job performance over the twenty-

six years of Plaintiff’s employment for Defendants.

        27.     Moreover, Plaintiff received increases to his salary and benefits commensurate with

his job performance.

        28.     Plaintiff was terminated sometime around March 23, 2021, due to Plaintiff’s age.

        29.     January 2021, Plaintiff began working with a new Senior Manager, Robert

Whitesel.

        30.     Almost immediately upon working with Robert Whitesel, Plaintiff began to note

discriminatory, age-based comments directed at Plaintiff from Robert Whitesel.

        31.     During Plaintiff’s first one-on-one meeting with Robert Whitesel, Robert Whitesel

raised the subject of Plaintiff’s age.

        32.     Robert Whitesel specifically asked Plaintiff to report his age. Robert Whitesel said,

“how old are you?”

        33.     Plaintiff responded that he just turned fifty-years old in January 2021.

        34.     Robert Whitesel was inappropriate with Plaintiff and commented about Plaintiff’s

age.

        35.     Robert Whitesel said to Plaintiff, “now that you’re fifty, you are retirement

eligible.”

        36.     Plaintiff worked with Robert Whitesel from January 2021 until March 23, 2021,

when Robert Whitesel terminated Plaintiff’s employment due to Plaintiff’s age.

        37.     Defendants refused to provide Plaintiff with a legitimate non-discriminatory reason

for Plaintiff’s termination.



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       38.     Plaintiff asked Defendants to provide a legitimate reason for Plaintiff’s termination.

       39.     Defendants notified Plaintiff that Defendants did not need a reason to terminate

Plaintiff’s employment.

       40.     Defendants terminated Plaintiff employment and replaced Plaintiff with a white,

Caucasian male in his twenties.

       41.     The individual who Defendants assigned to replace Plaintiff was Arthur Forbes,

who was assigned to replace Plaintiff on Tuesday, June 1, 2021.

       42.     Arthur Forbes is a white, Caucasian male in his twenties.

       43.     The age difference Plaintiff’s replacement, Arthur Forbes, is sufficient to create an

inference of discriminatory intent. Accord Willis v. UPMC Children's Hosp. of Pittsburgh, 808

F.3d 638, 644 (3d Cir. 2015).

       44.     At the time of Plaintiff’s unlawful termination, Plaintiff led the Production

Readiness team.

       45.     There are twelve employees assigned to the Production Readiness team.

       46.     Plaintiff was the Team Lead at the time of the adverse employment action, to wit

Plaintiff’s termination from employment.

       47.     Today, the Team Lead of the Production Readiness team is Arthur Forbes, a white,

Caucasian male in his twenties and almost 30 years Plaintiff’s junior.

       48.     The individual who hired Arthur Forbes to replace Plaintiff was Robert Whitesel,

the same person who made the decision to terminate Plaintiff’s employment.

       49.     Plaintiff was ultimately replaced by another employee who was sufficiently

younger so as to support an inference of a discriminatory motive. Id.




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        50.       Defendants refused to respond to Plaintiff’s requests for a legitimate non-

discriminatory reason for his termination and ultimately, Plaintiff was terminated with no

justification other than, “we do not need a reason to terminate you” (words or substance).

        51.       Plaintiff was employed by Defendants for twenty-six years and Plaintiff had every

reason to believe that Plaintiff would continue his employment for Defendants until Plaintiff’s

retirement.

        52.       Plaintiff intended to continue his employment for Defendants until Plaintiff was at

least sixty-five (65) years old.

        53.       At the time of Plaintiff’s termination, Plaintiff had risen to a level where Plaintiff

received earnings, benefits, bonuses, and other forms of compensation that had taken Plaintiff 26

years to enjoy.

        54.       Defendants unlawful conduct resulted in Plaintiff losing all of this and Plaintiff was

forced to begin at a new employer without any seniority status and the benefits that would entail.

        55.       Plaintiff will never be able to work to a seniority status that Plaintiff earned working

for Defendants unless Plaintiff remains in the workforce until age 76.

        56.       But for Defendants discriminatory, unlawful conduct, Plaintiff would have

continued his employment for Defendants for another fifteen years, at least. Plaintiff had every

reason to believe that he would be employed with Defendants until retirement.

        57.       Plaintiff’s damages begin with an assessment of the amount of money Plaintiff

should have earned from the date of Plaintiff’s unlawful termination until Plaintiff’s retirement.

        58.       Plaintiff earned a salary plus Plaintiff received commissions, benefits, bonuses, and

profit sharing. Plaintiff also received health benefits and 401k matching during Plaintiff’s

employment for Defendants.



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       59.     According to Defendants internal calculations, a Vanguard employee’s total

compensation package is at least equal to the employee’s annual income multiplied times two (2).

       60.     Plaintiff’s damages begin with a calculation of his salary multiplied times two and

then multiplied by the fifteen years Plaintiff would have continued his employment but for

Defendants unlawful, age-based conduct.

       61.     After Plaintiff’s lost wages are calculated, the next step would be to calculate the

value of the bonus and profit-sharing Plaintiff would have received but for Defendants conduct.

       62.     As a result of Defendants’ conduct, Plaintiff was caused to sustain serious and

permanent personal injuries, including permanent psychological injuries.

       63.     As a result of Defendants’ actions, Plaintiff felt extremely humiliated, degraded,

victimized, embarrassed and emotionally distressed.

       64.     As a result of the acts and conduct complained of herein, Plaintiff has suffered and

will continue to suffer the loss of income, the loss of salary, bonuses, benefits and other

compensation which Plaintiff’s employment entailed.

       65.     Plaintiff also suffers future pecuniary losses, emotional pain, humiliation, suffering,

inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

       66.     Plaintiff has further experienced severe emotional and physical distress.

       67.     As Defendants’ conduct has been malicious, willful, outrageous, and conducted

with full knowledge of the law, Plaintiff demands Punitive Damages as against all the Defendants,

jointly and severally.

       68.     Defendants at all times refused to investigate or take appropriate remedial action in

response to Plaintiff’s complaints of discrimination, harassment and hostile work environment.




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       69.     Defendants discriminatory conduct was severe and pervasive, creating a hostile

work environment for Plaintiff.

       70.     The above are just some examples, of some of the discrimination and retaliation to

which Defendants subjected Plaintiff.

       71.     Plaintiff claims a practice of discrimination and claims continuing violations and

makes all claims herein under the continuing violations doctrine.


                                       COUNT I
                        DISCRIMINATION UNDER THE AGE
                   DISCRIMINATION IN EMPLOYMENT ACT (ADEA)
                          (against Corporate Defendants Only)

       72. PLAINTIFF, JOHN D’ANGELO, hereby incorporates all allegations contained in

the above paragraphs as fully as if they were set forth at length.

       73. Section 626 of the ADEA provided it shall be unlawful for an employer:

                       (1)    to fail or refuse to hire or to discharge any
                       individual or otherwise discriminate against an
                       individual with respect to their compensation,
                       terms, conditions or privileges of employment,
                       because of such individual’s age;

                       (2)    to limit, segregate, or classify their
                       employees in any way which would deprive or
                       tent to deprive any individual of employment
                       opportunities or otherwise adversely affect his
                       status as an employee, because of such
                       individual’s age; or

                       (3)     to reduce the wage rate of any employee
                       in order to complywith this chapter.

                       (4)     It Shall be unlawful for an employment
                       agency to fail or refuse to refer for employment,
                       or otherwise to discriminate against, any
                       individual because of such individual’s age, or to
                       classify or refer for employment any individual
                       on the basis of such individual’s age.

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      74. Defendants engaged in unlawful employment practices prohibited by Section 626 of

the ADEA by discriminating against PLAINTIFF because of his age.

      75. At the time of PLAINTIFF’S termination from his employment PLAINTIFF was a

member of a protected class based on PLAINTIFF’S age. PLAINTIFF almost fifty at the time

PLAINTIFFwas unlawfully terminated from his employment.

                                       JURY DEMAND

      PLAINTIFF requests a jury trial on all issues to be tried.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants, jointly and severally,
in an amount to be determined at the time of trial plus interest, punitive damages, liquidated
damages, statutory damaged, attorney’s fees, costs, and disbursement of action; and for such
other relief as the Court deems just and proper.




                                                DEREK SMITH LAW GROUP, PLLC



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 Dated: November 1, 2021



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